                              CHANGE of PLEA AGREEMENT



UNITED STATES OF AMERICA                              Docket No: 6:21-mj-00008-HBK

       v.

CHRISTOPHER P. CARTER

                                                 JULY
This agreement is entered into this 13th day of      , 2021, by and between the United States of
America through its lawful representative, the Defendant and counsel for the Defendant. The
terms of this Written Plea Agreement are as follows:

In exchange for the Defendant’s plea of guilty to:

       Count 1: Operate a motor vehicle while under the influence of alcohol to a degree that
       rendered him incapable of safe operation in violation of Title 36 Code of Federal
       Regulations § 4.23(a)(1)
       Maximum penalty: 6 months imprisonment and/or $5,000 fine

       Count 2: Operating or being in actual physical control of a motor vehicle is prohibited
       while: The alcohol concentration in the operator's blood or breath is 0.08 grams or more
       of alcohol per 100 milliliters of blood or 0.08 grams or more of alcohol per 210 liters of
       breath. In violation of Title 36 Code of Federal Regulations § 4.23(a)(2)
       Maximum penalty: 6 months imprisonment and/or $5,000 fine

       Count 3: Fail to comply with the directions of a traffic control device in violation of Title
       36 Code of Federal Regulations § 4.12
       Maximum penalty: 6 months imprisonment and/or $5,000 fine

                        RECOMMENDATIONS by GOVERNMENT

The United States will move to dismiss:

       Count 4: Speeding in violation of Title 36 Code of Federal Regulations § 4.21(c)
       Maximum penalty: 6 months imprisonment and/or $5,000 fine

       Count 5: Operate a motor vehicle off of the designated roadway in violation of Title 36
       Code of Federal Regulations § 4.10
       Maximum penalty: 6 months imprisonment and/or $5,000 fine




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        Count 6: Violating a closure, designation, use or activity restriction or condition, schedule
        of visiting hours, or public use limit in violation of Title 36 Code of Federal Regulations §
        1.5(f)
        Maximum penalty: 6 months imprisonment and/or $5,000 fine

        Count 7: Driving recklessly upon a highway in willful or wanton disregard for the safety
        of persons or property where alcohol was a factor in violation of Title 36 Code of Federal
        Regulations § 4.2; and California Vehicle Code § 23103, pursuant to California Vehicle
        Code § 23013.5(a)
        Maximum penalty: 6 months imprisonment and/or $5,000 fine

                                            PROBATION

    X        The Defendant shall be placed on Unsupervised Probation for a period of 24
             months under standard terms.
    X        The Defendant shall obey all laws, local, state and federal.
    X        The Defendant shall report to the Law Enforcement Officer for post arraignment
             booking and processing.
    X        The Defendant shall advise the Court and Government Officer through counsel, if
             represented, within seven days of being cited or arrested for any alleged violation of
             law.
    X        The Defendant shall not operate a motor vehicle with any detectable amount of
             alcohol in Defendant’s system.
    X        The Defendant shall not refuse to or fail to complete a chemical test to determine
             blood alcohol content, if requested by a Law Enforcement Officer.
    X        The Defendant shall attend and complete a California Department of Motor Vehicle
             program for __1st Time DUI Offenders_________.
    X        Within __12__ months of the date of this plea agreement, the Defendant shall perform
             _20_ hours of community service at a non-profit organization and file sworn proof of
             completion to the Court and Government Officer through counsel, if represented.


                                          FINE PAYMENT
The Defendant shall pay a fine as follows:
Count    1      a fine of $ 990 plus a $ 10 Statutory Assessment, total of $ 1,000

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   X        Pay fine in full   within first 18 months of unsupervised probation


Count   2      a fine of $ 990 plus a $ 10 Statutory Assessment, total of $ 1,000
   X        Pay fine in full   within first 18 months of unsupervised probation




Count   3      a fine of $ 240 plus a $ 10 Statutory Assessment, total of $ 250
   X        Pay fine in full   within first 18 months of unsupervised probation


                                     SPECIAL CONDITIONS
    X       Defendant will have an Interlock or similar device installed in his vehicle for the
            duration of probation.


                               STATEMENT of PROBABLE CAUSE
   cc    (Initial) The Defendant will stipulate to the factual basis in the charging document(s)
            for the offense(s) to which he is pleading guilty.
   cc    (Initial) The Defendant admits that he is guilty of the essential elements of the
            offense(s) to which he is pleading guilty and that those acts did in fact occur.


                                 PRIOR CRIMINAL HISTORY
   cc (Initial) The Defendant understands that the Court will be notified of his prior criminal
        history:
        NONE


            ACKNOWLEDGMENTS and WAIVER of RIGHTS by DEFENDANT


  cc    (Initial) The Defendant has read the charges against him and fully understands the
            nature and elements of the crime(s) to which he is pleading guilty, together with the
            possible defenses thereto.



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  cc     (Initial) Defendant agrees that this plea agreement shall be filed with the court and
           become a part of the record of the case.

  cc
________(Initial) The Defendant acknowledges that this plea of guilty is freely and voluntarily
           made and not the result of force or threats or of promises apart from those set forth in
           this plea agreement. There have been no representations or promises from anyone as
           to what sentence this Court will impose.

   cc
         (Initial) Defendant understands and agrees that he will not be allowed to withdraw his
           plea should the Court fail to follow the government’s sentencing recommendations.

  cc
         (Initial) Defendant knowingly and voluntarily waives his Constitutional and statutory
           rights to appeal his plea, conviction and sentence. This waiver of appeal includes, but
           is not limited to, an express waiver of Defendant’s right to appeal his plea, conviction
           and sentence on any ground, including any appeal right conferred by 18 U.S.C. §
           3742, and Defendant further agrees not to contest his plea, conviction and sentence in
           any post-conviction proceeding, including but not limited to a proceeding under 28
           U.S.C. § 2255.

 cc
         (Initial) Defendant understands that by pleading guilty he surrenders certain rights,
           including the following:
        (a) If Defendant persisted in a plea of not guilty to the charges against him, he would
           have the right to a public and speedy trial. The trial would be a trial by a judge sitting
           without a jury. Defendant does not have a right to a trial by jury.
        (b) At trial, the judge would find the facts, would presume that the Defendant is innocent
           of the charges and, after hearing all the evidence, must be persuaded of the
           Defendant’s guilt beyond a reasonable doubt.
        (c) At a trial, the government would be required to present its witnesses and other
           evidence against Defendant. Defendant would be able to confront those government
           witnesses and his attorney would be able to cross-examine them. In turn, Defendant

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          could present witnesses and other evidence on his own behalf. If the witnesses for
          Defendant would not appear voluntarily, he could require their attendance through the
          subpoena power of the Court.
      (d) At a trial, Defendant would have a privilege against self-incrimination so that he
          could decline to testify, and no inference of guilt could be drawn from this refusal to
          testify. Defendant understands that by pleading guilty he is waiving all of the rights
          set forth above and understands the consequences of his waiver of those rights.

   cc (Initial) The Defendant agrees to waive all rights under the “Hyde Amendment,”

          Section 617, P.L. 105-119 (Nov. 26, 1997), to recover attorneys’ fees or other
          litigation expenses in connection with the investigation and prosecution of all charges
          in the above-captioned matter and of any related allegations (including without
          limitation any charges to be dismissed pursuant to this Agreement and any charge
          previously dismissed).

  cc
_______(Initial) Deportation Consequences: Defendant recognizes that pleading guilty may
          have consequences with respect to his immigration status if he is not a citizen of the
          United States. Under Federal law, crimes involving controlled substances, firearms,
          aggravated felonies, or moral turpitude are deportable offenses; and the defendant's
          plea to any such crime may subject him to automatic deportation and removal from
          the United States. See 8 U.S.C. § 1227(a)(2) et seq. Defendant affirms that he has
          been advised of the immigration consequences of pleading guilty and wants to plead
          guilty regardless of any immigration consequences that may result from his plea, even
          if such consequence includes his automatic deportation and removal from the United
          States.


  cc
_______(Initial) Defendant understand that if he is not a United States citizen, he has a right to
          have an attorney for the government or a federal law enforcement official notify a
          consular officer from his country of nationality that he has been arrested, and he
          hereby waives that right.

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  cc
_______(Initial) Pursuant to F.R. Crim. P. 43(b)(2) and (3), the Defendant hereby waives his
             right to be personally present in open court, upon the entering of his plea and
             sentencing.


The Defendant hereby advises the court that he has read the foregoing Written Plea Agreement
and fully understands the contents of this Agreement. Defendant has had adequate opportunity to
discuss the foregoing Written Plea Agreement with his counsel and desires to enter into said
agreement.


Signed:                                                               Dated:     7/8/2021
          Defendant, Christopher P. Carter


Signed:                                                               Dated:     7/8/2021
          Counsel for Defendant, Kristen M. Hart


Signed:                                                               Dated: 7/8/2021
          Counsel for Government, Sean O. Anderson




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